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 3
     Telephone: (559) 497-6132
 4
     Attorney for Defendant,
 5   LENELE MARIA NUNEZ
 6
 7                        IN THE UNITED STATES DISTRICT COURT FOR THE
 8                                 EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                                 Case No. 1:15-CR-00046 LJO-SKO

11           Plaintiff,                                        STIPULATION TO CONTINUE
                                                               SENTENCING HEARING
12                  v.                                         AND ORDER THEREON

13   LENELE MARIA NUNEZ,                                       DATE: August 27, 2018
                                                               TIME: 9:30 a.m.
14          Defendant.                                         Courtroom Four

15                                                             Honorable Lawrence J. O'Neill

16
17          Defendant, LENELE MARIA NUNEZ, by and through her counsel, John F. Garland and
18
     the United States of America, by and through its counsel, McGregor W. Scott, United States
19
     Attorney and Kathleen A. Servatius, Assistant United States Attorney, hereby stipulate to
20
     continue the defendant's sentencing hearing from March 26, 2018 to August 27, 2018 at 9:30
21
22   a.m. This continuance is necessary for the following reasons:

23   (1) The defendant had major surgery on November 10, 2016 to remove a cancerous tumor and
24
     her physician had determined that she needed chemotherapy treatments to be administered for
25
     six months (mid-January through mid-July).
26
     (2) In May 2017 the defendant was not responding to the chemotherapy treatments and her
27
28   physician discovered that a new tumor had developed and the cancer was very aggressive.
                                                          1
     ___________________________________________________________________________________________________________________
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     (3) The defendant's physician referred her to Stanford University Medical Center where the
 1
     physicians confirmed that the cancer was very aggressive and had advanced to stage four. The
 2
 3   Stanford medical team scheduled the defendant for surgery on August 2, 2017. On July 31, 2017

 4   the defendant's August 2nd surgery was cancelled because the Stanford medical team determined
 5
     that radiation treatment was necessary in order to shrink the tumor and reduce the possibility that
 6
     the cancer would spread throughout the defendant's body.
 7
     (4) The defendant completed the radiation treatments in September 2017 but the treatments were
 8
 9   not successful in shrinking the new tumor. The radiation treatments caused the defendant severe

10   pain and discomfort resulting in hospitalization and a pulmonary embolism was discovered. The
11
     defendant is currently being treated with blood thinners and undergoing immunotherapy to
12
     combat the cancer and shrink the tumor. The defendant has completed six immunotherapy
13
     treatments (treatment every three weeks) and is scheduled to continue the treatments for six more
14
15   months. After the immunotherapy treatment is completed, the Stanford medical team will re-

16   evaluate the defendant's health condition for surgery. At this time, surgery has not been
17   scheduled.
18
     (5) The Stanford medical team previously informed the defendant that the recovery period after
19
     the surgery is 12 to 16 weeks, to be followed with more chemotherapy treatment. Due to the fact
20
21   that surgery has not been scheduled, counsel cannot calculate the time necessary for the

22   defendant to complete all of the anticipated post-surgery treatment. In light of the foregoing, the
23   parties have agreed to continue the defendant's sentencing hearing to August 27, 2018.
24
     (6) This continuance will also allow the defendant and the United States Probation Office to
25
     include the defendant's most current health condition and medical treatment needs in the
26
27   Presentence Investigation Report, which are relevant factors to be considered by the Court in

28
                                                          2
     ___________________________________________________________________________________________________________________
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     determining a reasonable sentence. United States Probation Officer Ross Micheli has no
 1
     objection to the requested continuance.
 2
 3            The parties further stipulate that any delay resulting from this continuance shall be

 4   excluded on the following basis:
 5
                       Title 18 United States Code Section 3161(h)(8)(A) - that the ends of justice
 6
                       served by taking such action outweighs the best interest of the public and the
 7
                       defendant in a speedy trial.
 8
 9
     Dated: February 22, 2018                                      /s/ John F. Garland
10                                                                    John F. Garland
                                                                   Attorney for Defendant
11
                                                                 LENELE MARIA NUNEZ
12
13   Dated: February 22, 2018                                          McGregor W. Scott
                                                                      United States Attorney
14
15                                                                   /s/ Kathleen A. Servatius
                                                               By:      Kathleen A. Servatius
16                                                                     Assistant U.S. Attorney
17
18                                                ORDER

19            GOOD CAUSE APPEARING, based on the stipulation of the parties,
20   IT IS HEREBY ORDERED that the sentencing hearing for defendant LENELE MARIA
21
     NUNEZ is continued to August 27, 2018 at 9:30 a.m.
22
23   IT IS SO ORDERED.
24
         Dated:      February 23, 2018                                /s/ Lawrence J. O’Neill _____
25                                                         UNITED STATES CHIEF DISTRICT JUDGE
26
27
28
                                                          3
     ___________________________________________________________________________________________________________________
